110 F.3d 61
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Zarina HAFIZUDDIN, Defendant-Appellant.
    No. 96-7684.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 27, 1997.Decided April 3, 1997.
    
      Gary Wilmer Christopher, FEDERAL PUBLIC DEFENDER'S OFFICE, Baltimore, Maryland, for Appellant.
      John Francis Purcell, Jr., OFFICE OF THE UNITED STATES ATTORNEY, Baltimore, Maryland, for Appellee.
      Before RUSSELL, LUTTIG, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying her motion filed under 28 U.S.C. § 2255 (1994), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.  United States v. Hafizuddin, Nos.  CR95-9-L, CA-96-1423-L (D.Md. Nov. 1, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    